                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                                    1:17-cv-610-CCE-LPA


VENICE PI, LLC                                      )
                                                    )
                              Plaintiff,            )
                                                    )
        v.                                          )
                                                    )
DOES 1-18,                                          )
                                                    )
                              Defendants.           )
                                                    )



             NOTICE OF VOLUNTARY DISMISSAL OF DOES 2-3, 6-10 AND 12-17

       Plaintiff, Venice PI, LLC, by counsel and pursuant to FED.R.CIV.P. 41(a)(1)(A)(i) and

41(a)(1)(B), respectfully notifies the Court of its voluntary dismissal, without prejudice, of its

complaint against the Defendants identified in Exhibit 2 to the Complaint as Does 2-3, 6-10 and

12-17. Does 1, 4-5, 11 and 18 had been previously dismissed.

       The case no longer remains pending against any defendant.

       Dated this 24th day of January, 2018.

                                                         /s/ Kathleen Lynch         .
                                                        Kathleen M. Lynch
                                                        NC State Bar No. 37429
                                                        Lynch Van Sickle, PLLC
                                                        201 Shannon Oaks Circle
                                                        Suite 200
                                                        Cary, NC 27511
                                                        Telephone: (919) 469-5685
                                                        Email: kml@lynchvansickle.com

                                                        Attorney for UN4 Productions, Inc.



                                                1


      Case 1:17-cv-00610-CCE-LPA Document 22 Filed 01/24/18 Page 1 of 2
                             CERTIFICATE OF SERVICE

       I certify that on the 24th of January, 2018 she electronically filed the foregoing

“Notice of Dismissal of Does 2-3, 6-10 and 12-17” with the Clerk of Court using the

CM/ECF system which will electronically send notification of such filing to the

parties.

                                                /s/ Kathleen M. Lynch
                                                Kathleen Lynch
                                                N.C. Bar No. 37429
                                                Lynch Van Sickle, PLLC
                                                201 Shannon Oaks Circle, Suite 200
                                                Cary, NC 27511
                                                (919) 469-5685
                                                kml@lynchvansickle.com

                                                Attorney for Plaintiff




                                            2


      Case 1:17-cv-00610-CCE-LPA Document 22 Filed 01/24/18 Page 2 of 2
